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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                8:16CR347
                                              )
       vs.                                    )
                                              )                 ORDER
MICHAEL BLACKFISH                             )
                                              )
                     Defendant..              )


       This matter is before the court on defendant’s Unopposed Motion to Continue Trial
[26]. The defendant is charged in two other matters and counsel is seeking additional time
to discuss the resolution of all matters with the government. Defendant shall comply with
NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the Motion to Continue Trial [26] is granted as follows:

       1. The jury trial now set for January 31, 2017 is continued to February 28, 2017.

       2. The defendant shall file the affidavit required by paragraph 9 of the progression
order and NE.CrimR 12.1(a) forthwith.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and February 28, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED January 19, 2017.

                                     BY THE COURT:

                                     s/ Susan M. Bazis
                                     United States Magistrate Judge
